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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
                               CIVIL MINUTES – GENERAL

    Case No. 2:25-cv-03623-HDV-RAOx                               Date July 3, 2025
    Title Curtis J. Jackson, III et al v. Ryan Kavanaugh et al

    Present: The Honorable        Hernán D. Vera, United States District Judge

                  Wendy Hernandez                                  Not Reported
                   Deputy Clerk                                    Court Reporter

      Attorney(s) Present for Plaintiff(s):          Attorney(s) Present for Defendant(s):
                    Not Present                                      Not Present

    Proceedings: IN CHAMBERS—ORDER RE:                       PLAINTIFFS’       REQUEST        FOR
                 PRELIMINARY INJUNCTION [22]


       Plaintiffs Curtis J. Jackson III and NYC Vibe, LLC move for an order enjoining
Defendants Ryan Kavanaugh, Skill House Movie LLC, and GenTV LLC from releasing the Skill
House film on July 11, 2025 (“Motion”). [Dkt. No. 22].

        A preliminary injunction is “an extraordinary remedy that may be awarded only if the
plaintiff clearly shows entitlement to such relief.” Am. Bev. Ass’n v. City and County of San
Francisco, 916 F.3d 749, 754 (9th Cir. 2019) (en banc) (citing Winter v. Nat. Res. Def. Council,
Inc., 555 U.S. 7, 22 (2008)). In order to prevail on a motion for preliminary injunction, the
movant must establish that (1) it is likely to succeed on the merits, (2) it is likely to suffer
irreparable harm absent the preliminary injunction, (3) the balance of equities tips in its favor,
and (4) a preliminary injunction is in the public interest. Meinecke v. City of Seattle, 99 F.4th
514, 521 (9th Cir. 2024). Preliminary injunctions are denied unless the movant can make a
“clear showing of evidence” that supports each of the preliminary injunction factors. J.L. Boyd v.
Luna, No. 2:24-cv-05716-SPG-AJR, 2024 WL 4799125, at *2 (C.D. Cal. 2024) (citing Winter,
555 U.S. at 22). Where parties “fundamentally disagree on the facts underlying the case, courts
routinely deny requests for preliminary injunctions.” Id. (citation and internal quotation marks
omitted).1

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 Defendants contend that the parties’ dispute is subject to arbitration. Opposition to Motion 17–
18 [Dkt. No. 26]. But courts may grant injunctive relief on arbitrable claims, if necessary to

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         Plaintiffs have not shown that they are entitled to such extraordinary relief. Here, the
parties disagree as to the critical fact in the case: whether Jackson signed the Binding Term Sheet
and/or Certificate of Employment (collectively the “Agreement”) on August 2, 2022. But even
accepting Plaintiffs’ contention that no final Agreement was ever executed, the evidence before
the Court raises numerous (and substantive) disputes of fact and law concerning whether the
parties’ course of conduct evinces mutual agreement as to the Agreement’s material terms. See
Merced Cnty Sheriff’s Employee’s Ass’n v. County of Merced, 188 Cal. App. 3d 662, 670 (1987).
For that reason, the Court cannot find a likelihood of success on the merits at this stage of the
litigation.

       Plaintiffs’ Motion is therefore denied. The Court will release a more fulsome order
explaining its reasons.


IT IS SO ORDERED.




maintain the status quo. Toyo Tire Holdings of Ams., Inc. v. Cont’l Tire N. Am. Inc., 609 F.3d
975, 981 (9th Cir. 2010).

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